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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  )
In re:                                            )                             Chapter 11
                                                  )
HONX, INC.,                                       )               Case No. 22-90035 (MI)
                        Debtor.                   )
                                                  )          Relates to Docket No. 885, 999, 1218
                                                  )

  NOTICE REGARDING IMC ENTITIES’ OBJECTIONS TO DEBTOR’S MODIFIED
    FIRST AMENDED CHAPTER 11 PLAN (DOCKET NO. 885, 999, AND 1218)
         Virgin Islands Industrial Maintenance Corporation, Riggers & Erectors International, Inc.,

Resal, Inc., and Riggers & Erectors Virgin Islands Corporation (collectively, “IMC”) gives notice

that the Debtor’s modifications to its proposed chapter 11 plan (Dkt. 1218) do not resolve IMC’s

objections to confirmation.

         On December 21, 2023, Debtor filed a Modified First Amended Chapter 11 Plan of

Reorganization. (Dkt. 1218) (“Modified First Amended Plan”). Nothing in the Modified First

Amended Plan addresses or resolves IMC’s objections to confirmation of the Debtor’s proposed

plan. IMC continues to object to confirmation of the Modified First Amended Plan for all of the

reasons set out in IMC’s plan objections filed on September 11, 2023 at Docket No. 999.

                                                  Respectfully submitted,

                                                  By: /s/ Tony L. Draper
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                                                  Attorneys For Virgin Islands Industrial
                                                  Maintenance Corporation; Riggers &
                                                  Erectors International, Inc.; Resal, Inc.; and
                                                  Riggers & Erectors Virgin Islands
                                                  Corporation


                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2024, a true and correct copy of the foregoing was

served electronically on all parties registered for service through the Court’s ECF system and/or

via regular U.S. mail, postage prepaid on the parties on the attached service list.


                                                      /s/ Tony L. Draper
                                                      Tony L. Draper




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